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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO
Criminal Action No. 15-CR-200-REB
UNITED STATES OF AMERICA,

Plaintiff,
V.

SHAWN SHIELDS,

Defendant.

 

AFFIDAVIT OF SEAN SHIELDS IN SUPPORT OF MOTION TO PROCEED ON APPEAL
WITHOUT PAYMENT OF FEES AND COSTS

 

|, Sean Shields, declare that:

(1) | am unable to pay fees or give security therefor.

(2) The issues | desire to raise on appeal include but are not limited to the
court’s failure to give a jury instruction on the defense of necessity and
the denial of my pretrial motions.

(3) | am entitled to redress.

(4) | take this appeal in good faith.

(5) | The appeal is not frivolous and presents a substantial question.

(6) | have $ 6.00 in my prison account.

(7) | have no other assets.

| declare under penalty of perjury that the foregoing is true and correct.

Executed at Denver, Colorado on September 5, 2018.

Cn SO

Shaww/Shields ’

 
